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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


  In re Lakeview Loan Servicing Data Breach      Case No. 1:22-cv-20955-DPG
  Litigation


       DEFENDANTS’ MOTION TO QUASH OR MODIFY THIRD-PARTY SUBPOENAS
                 AND INCORPORATED MEMORANDUM OF LAW

          Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Lakeview Loan Servicing,

  LLC, Pingora Loan Servicing, LLC, Community Loan Servicing, LLC, and Bayview Asset

  Management LLC (collectively, “Defendants”) respectfully move to quash or modify third-party

  subpoenas.

  I.      BACKGROUND

          On June 20, 2023, Plaintiffs’ counsel filed a notice of intent to serve subpoenas on the

  following third-parties (“Third-Party Subpoenas”): (1) 24By7Security, Inc.; (2) Bishop Fox, Inc.;

  (3) FS-ISAC, Inc.; (4) Hurricane Labs, LLC; (5) Kaufman, Rossin & Co., P.A.; (6) Protiviti, Inc.;

  (7) ReliaQuest, LLC; and (8) Team Cymru, Inc. See Dkt. No. 106. Plaintiffs subsequently served

  copies of the subpoenas on Defendants. See Exs. 1-8 (appendices omitted).

          The Third-Party Subpoenas seek extensive discovery concerning Defendants’ data security

  and the data security incident at issue in this litigation. See id. In particular, the Third-Party

  Subpoenas seek information concerning investigations into the data security incident. See id. at

  Request Nos. 2, 6, 9, and 11. They also seek “Documents sufficient to reveal the identify [sic] of

  the individuals whose [personally identifiable information] was revealed or involved in the Data

  Breach, as well as the [personally identifiable information] involved for those particular

  individuals.” See id. at Request No. 8.
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         Prior to issuing the Third-Party Subpoenas, Plaintiffs sought much of the same discovery

  from Defendants, who timely objected to a number of the requests on various grounds, including

  the assertion of attorney-client privilege and work-product protection.           With regard to

  investigations into the data security incident, Defendants explained that they assert privilege over

  the investigations performed by Mandiant and Protiviti, which were engaged by counsel to provide

  information that was necessary for counsel’s provision of legal advice and the formulation of

  Defendants’ litigation strategy. See, e.g., Ex. 9, Lakeview Resp. to RFP Nos. 18, 45–46, 50–53,

  56, 58, 60, 62–70, 75, 77, 80, 82, 84; see also Ex. 10, Protiviti Statement of Work. Plaintiffs did

  not challenge Defendants’ assertion of privilege.      Instead, Plaintiffs issued the Third-Party

  Subpoenas seeking the same discovery from Defendants’ vendors. See Ex. 6, Protiviti Subpoena;

  Exs. 1-8 at Request Nos. 1–4, 8–9, 11.

         Plaintiffs also sought production of documents from Defendants setting forth the personally

  identifiable information (“PII”) for every person whose PII may have been accessed in the data

  security incident at issue in this litigation, but Defendants objected. See, e.g., Ex. 11, Lakeview

  Resp. to RFP No. 85. Plaintiffs did not challenge Defendants’ objection to producing borrowers’

  PII. Instead, Plaintiffs purport to use the subpoena power to obtain the same discovery from

  Defendants’ third-party vendors. See Exs. 1-8 at Request No. 8.

         Defendants object to the Third-Party Subpoenas and hereby move to quash the Protiviti

  subpoena or, in the alternative, modify the Third-Party Subpoenas as set forth herein.

  II.    ARGUMENT

         A.      The Protiviti Subpoena Should Be Quashed Because It Seeks Production of
                 Privileged Materials

         The subpoena issued to Protiviti, Inc. (Ex. 6) should be quashed because it seeks

  information that is protected by the attorney-client privilege and the work product doctrine.

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  Protiviti was engaged by defense counsel to provide information that was necessary for providing

  legal advice and formulating Defendants’ litigation strategy, so Protiviti’s work and related

  communications are privileged.     See Ex. 10, Protiviti Statement of Work; FED. R. CIV. P.

  45(d)(3)(A)(iii) (requiring that a subpoena be quashed or modified if it “requires disclosure of

  privileged or other protected matter”); Scott v. Callaway Gardens Resorts, Inc., No. 4:20-CV-100

  (CDL), 2021 WL 2875331, at *1–2 (M.D. Ga. Feb. 8, 2021) (quashing a subpoena seeking

  privileged materials).

         Indeed, Defendants repeatedly objected to discovery relating to Protiviti’s investigation in

  January 2023. See, e.g., Ex. 9, Lakeview Resp. to RFP Nos. 18, 45–46, 50–53, 56, 58, 60, 62–70,

  75, 77, 80, 82, 84. Plaintiffs did not challenge Defendants’ assertion of privilege during the

  ensuing six months and, instead, seek the very same discovery directly from Protiviti. See Ex. 6,

  Protiviti Subpoena. In doing so, Plaintiffs do not adhere to Rule 45(d)(1), which requires them to

  “take reasonable steps to avoid imposing undue burden or expense on a person subject to the

  subpoena.” See FED. R. CIV. P. 45(d)(1).

         Issuing a third-party subpoena to obtain documents without first challenging Defendants’

  assertion of privilege and allowing the Court to determine the appropriateness of the requests and

  objections, violates Plaintiffs’ duty to avoid undue burden and expense on third-parties and is an

  improper attempt to obtain documents over which Defendants have asserted privilege. See Bogus

  v. City of Birmingham, Alabama, No. 2:17-CV-00827-TMP, 2019 WL 13268139, at *3–4 (N.D.

  Ala. Mar. 7, 2019) (quashing subpoena seeking discovery that could be obtained from a party);

  Doe v. Bd. of Trustees of Teton Cnty. Sch. Dist. No.1, No. 20-CV-110-S, 2021 WL 7209990, at *2

  (D. Wyo. Sept. 2, 2021) (same). Therefore, the Protiviti subpoena should be quashed. At a

  minimum, the Court should modify the Protiviti subpoena to make clear that Protiviti should not


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  produce documents or communications relating to Protiviti’s investigation into the data security

  incident at issue in this litigation.

          B.      Plaintiffs Are Not Entitled to PII for Absent Class Members

          The Court should modify all the Third-Party Subpoenas to remove Request Number 8,

  which seeks PII for persons whose information may have been accessed in the data security

  incident, for two reasons.

          First, pre-certification discovery regarding the identity of putative class members is

  inappropriate. See Turner v. Allstate Ins. Co., No. 2:13-CV-685-WKW, 2016 WL 7155751, at

  *2–3 (M.D. Ala. Dec. 7, 2016) (granting motion to quash third-party subpoena seeking “personal

  identifying information [for] putative class members”); Dubin & Dubin LLP v. Mayorga, No. 13-

  MC-21S, 2013 WL 3989550, at *3–5 (W.D.N.Y. Aug. 2, 2013) (quashing subpoena seeking pre-

  certification discovery regarding identities of putative class members); Field v. Anadarko

  Petroleum Corp., No. 4:20-CV-00575, 2020 WL 4937122, at *1–3 (S.D. Tex. Aug. 24, 2020)

  (same). Indeed, Plaintiffs sought the same discovery from Defendants, who repeatedly objected

  that such discovery is “inappropriate at this stage of the litigation where no class has been

  certified.” See, e.g., Ex. 9, Lakeview Resp. to RFP Nos. 43, 56, 65, 76–78, 81; Ex. 11, Lakeview

  Resp. to RFP No. 85. Thus, Plaintiffs are aware this discovery could be sought from Defendants

  at the appropriate time (i.e., if and when a class is certified). However, rather than challenge

  Defendants’ objections or wait until after a class is certified, Plaintiffs attempt to circumvent

  Defendants’ timely objections by seeking this discovery directly from Defendants’ vendors in

  contravention of Rule 45(d)(1).

          Second, producing PII for over 5.8 million persons to a half-dozen law firms is ill-advised.

  Defendants have no means of evaluating the security measures and controls implemented by the


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  multiple law firms representing Plaintiffs, not to mention the vendors those firms would share this

  information with. Moreover, the subpoenas broadly define PII as follows:

         “Personally Identifiable Information” or “PII” means information about persons
         whose PII was breached in the Data Breach including, without limitation, names,
         Social Security numbers or tax identification numbers; driver’s license, passport or
         other government identification numbers; dates of birth; usernames and passwords;
         employee identification numbers; financial account or credit card information;
         and/or electronic signatures, whether or not that piece of information was identified
         by Defendants as specifically compromised in the Data Breach as described in the
         Complaint.

  See Exs. 1-8 at Definition No. 18. Thus, Plaintiffs demand that the subpoenaed parties produce

  every form of PII imaginable, without any regard for whether that PII was potentially accessed.

         To be clear, the Request at issue refers to “the PII involved” for these persons. See id. at

  Request No. 8. It is unclear whether this is intended to limit the Request to PII that was potentially

  accessed, notwithstanding that PII is defined to include all personal information, regardless of

  whether it was potentially accessed. However, even if the Request is limited to PII that was

  potentially accessed, Plaintiffs broadly define that to include “name, address, loan number, and

  Social Security number and, for some, information provided in connection with a loan application,

  loan modification, or other items regarding loan servicing….” See Compl. ¶ 3 (Dkt. No. 47).

  Again, producing such information would be ill-advised even if the information was not being

  sought prematurely.

         Issuing subpoenas demanding the provision of PII for over 5.8 million persons serves no

  purpose other than to prematurely provide Plaintiffs’ counsel with a list of potential clients.

  Moreover, this discovery does not further the interests of the named Plaintiffs or the putative class

  members they purport to represent. Thus, the subpoenas should be modified to remove Request

  Number 8 and to clarify that the subpoenaed third-parties should not produce PII in response to

  any Request.

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  III.   CONCLUSION

         For the foregoing reasons, the Court should quash the Protiviti subpoena or modify it to

  make clear that Protiviti should not produce documents or communications relating to Protiviti’s

  investigation into the data security incident at issue in this litigation. Further, the Court should

  modify all of the Third-Party Subpoenas to remove Request Number 8 and clarify that the third-

  parties should not produce PII in response to any Request.

                              CERTIFICATION OF CONFERENCE

         Prior to filing this Motion, Defendants conferred with Plaintiffs’ counsel via electronic

  mail between July 7 and July 13, 2023, in a good faith effort to resolve the issues raised in the

  Motion, but were unable to reach a resolution.


  Dated: July 14, 2023.                                /s/ Julie Singer Brady
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                                                      Counsel for Defendants



                                     CERTIFICATE OF SERVICE

         I hereby certify that, on July 14, 2023, I electronically filed the foregoing document with

  the Clerk of the Court by using the Florida E-Filing Portal, which will send a Notice of Electronic

  Filing to all counsel of record.

                                                               /s/ Julie Singer Brady
                                                               Julie Singer Brady




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